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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

Jarrod Stringer, et al.

vs.                                                  Case No.: 5:16-cv-00257
Carlos Cascos, in his off. capacity TXSOS, et al


                          MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

        Comes now Robert Leslie Meyerhoff                                   , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent the Texas Democratic Party                         in this case, and

would respectfully show the Court as follows:


        1.      Applicant is an attorney and a member of the law firm (or practices under the name of)
                Texas Democratic Party                                    with offices at:

                Mailing address: 314 E Highland Mall Blvd #508

                City, State, Zip Code: Austin, Texas 78752

                Telephone: 512-478-9800                      Facsimile:


        2.      Since     April 29, 2013                      , Applicant has been and presently is a

                member of and in good standing with the Bar of the State of New York                     .

                Applicant's bar license number is 5121587                                                .


        3.      Applicant has been admitted to practice before the following courts:

                Court:                                       Admission date:
                State Bar of Maryland                        January 10, 2014

                State Bar of California                      August 6, 2014

                Central District of California               August 19, 2014
                Northern District of California              January 16, 2015
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4.     Applicant is presently a member in good standing of the bars of the courts listed above,

       except as provided below (list any court named in the preceding paragraph before which

       Applicant is no longer admitted to practice):




5.     I      have         have not previously applied to Appear Pro Hac Vice in this district

       court in Case[s]:

       Number: 1:19-cv-01063-LY             on the 4th    day of May                    , 2020 .

       Number: 1:19-cv-01071-LY             on the 4th    day of May                    , 2020 .

       Number: 5:20-cv-00008-OLG            on the 4th    day of May                    , 2020 .

6.     Applicant has never been subject to grievance proceedings or involuntary removal

       proceedings while a member of the bar of any state or federal court, except as

       provided:




7.     Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

       except as provided below (omit minor traffic offenses):

       At the age of 19, I was arrested for underage drinking and possession of false
       identification in June of 2002. The charges were nolle prosequi, and have since been
       expunged. I provided this information to the character and fitness committees of the
       three state bars to which I am admitted.


8.     Applicant has read and is familiar with the Local Rules of the Western District of Texas

       and will comply with the standards of practice set out therein.
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          9.     Applicant will file an Application for Admission to Practice before the United States

                 District Court for the Western District of Texas, if so requested; or Applicant has

                 co-counsel in this case who is admitted to practice before the United States District

                 Court for the Western District of Texas.

                 Co-counsel: Chad Dunn / Brazil & Dunn, LLP

                 Mailing address: 4407 Bee Caves Road

                 City, State, Zip Code: Austin, Texas

                 Telephone: (512) 717-9822


          Should the Court grant applicant's motion, Applicant shall tender the amount of $.00 pro hac

vice fee in compliance with Local Court Rule AT-l(f)(2) [checks made payable to: Clerk, U.S. District

Court].

          Wherefore, Applicant prays that this Court enter an order permitting the admission of
Robert Leslie Meyerhoff                   to the Western District of Texas pro hac vice for this case only.


                                                       Respectfully submitted,

                                                        Robert Leslie Meyerhoff
                                                       [printed name of Applicant]


                                                       [signature of Applicant]


                                      CERTIFICATE OF SERVICE

          I hereby certify that I have served a true and correct copy of this motion upon each attorney of

record and the original upon the Clerk of Court on this the 5th day of May                        , 2020 .

                                                        Robert Leslie Meyerhoff
                                                       [printed name of Applicant]


                                                       [signature of Applicant]
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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


Jarrod Stringer, et al.

vs.                                                      Case No.: 5:16-cv-00257
Carlos Cascos, in his off. capacity TXSOS, et
al


                                                       ORDER

        BE IT REMEMBERED on this day, there was presented to the Court the Motion for

Admission Pro Hac Vice filed by Robert Leslie Meyerhoff                                     , counsel for

the Texas Democratic Party                               , and the Court, having reviewed the motion, enters

the following order:

        IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and

Robert Leslie Meyerhoff                   may appear on behalf of the Texas Democratic Party

in the above case.

        IT IS FURTHER ORDERED that Robert Leslie Meyerhoff                                        , if he/she

has not already done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.

District Court, in compliance with Local Court Rule AT-l(f)(2).

        SIGNED this the               day of May                                     , 20          .




                                                          UNITED STATES DISTRICT JUDGE




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